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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


CHRISTOPHER NIOSI, individually, and
on behalf of all others similarly situated
                                                 Case No. 0:25-CV-01409
                         Plaintiff,

v.

Eisner Advisory Group, LLC,

                         Defendant.


ANDREW MARSTON, individually, and
on behalf of all others similarly situated       Case No. 0:25-CV-01568

                         Plaintiff,

v.

Eisner Advisory Group, LLC,

                         Defendant.


ROBERT CRIST and REBECCA L.
LEMMONS, individually and on behalf              Case No. 0:25-cv-01573
of all others similarly situated,

                         Plaintiffs,

v.

Eisner Advisory Group, LLC,

                         Defendant.



                        MEET AND CONFER STATEMENT
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      Plaintiffs Christopher Niosi, Andrew Marston, Robert Crist, and Rebecca L.

Lemmons (collectively “Plaintiffs”), hereby certify, pursuant to D. Minn. Local Rule

7.1(a), that their counsel met and conferred with counsel for Defendant to obtain their

consent to present this motion to consolidate the above-captioned related actions as an

unopposed joint Motion to this court.

      Attorney Philip Krzeski, counsel for Plaintiff Andrew Marston in the action

captioned Andrew Marston v. Eisner Advisory Group, LLC, No. 0:25-cv-01568, filed on

April 17, 2025; attorney Carl V. Malmstrom, counsel for Christopher Niosi in the action

captioned Christopher Niosi v. Eisner Advisory Group, LLC, No. 0:25-cv-01409, filed on

April 14, 2025; and attorneys David Goodwin and Marc Edelson, counsel for Robert

Crist and Rebecca L. Lemmons in the action captioned Robert Crist and Rebecca L.

Lemmons v. Eisner Advisory Group, LLC, No. 0:25-cv-01573, filed on April 17, 2025;

and Daniel Braude (motion for pro hac vice admission pending), counsel for Defendant

Eisner Advisory Group, LLC (the “Unopposed Defendant”) in each of the above-

captioned actions met and conferred to discuss the Motion to Consolidate.

      In the course of that correspondence, all counsel consented to consolidations of the

above-captioned actions, as well as to adjourn all deadlines for Defendant to file a

responsive pleading until the Court appointed interim lead Plaintiffs’ Counsel files a

Consolidated Complaint and an appropriate responsive pleading schedule is established.

Defendant stated that they do not oppose consolidation of the Eisner Advisory Group,

LLC Data Breach actions under Federal Rule of Civil Procedure 42(a). Defendant takes
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no position on the appointment of interim class counsel. Defendant, however, is not

waiving any defenses or rights available to them and reserved its right to move to dismiss

the Eisner Advisory Group, LLC Data Breach Actions under Federal Rule of Civil

Procedure 12 and oppose any potential motion under Federal Rule of Civil Procedure 23.

      As a result of the meet-and-confer the parties agreed on all or part of the motion

and request that the Court issue the Proposed Order filed contemporaneously with

Plaintiffs’ Unopposed Motion for Consolidation of Related Actions.

DATED: April 24, 2025                    Respectfully submitted,

                                         /s/ Carl v. Malmstrom
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